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       EXHIBIT                                       1




         A
                 Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 2 of 31
CRTR2709-CR                           COMMONWEALTH OF MASSACHUSETTS
                                           SUFFOLK COUNTY CIVIL
                                               Docket Report




              1884CV01657 The General Hospital Corporation vs. Esoterix Genetic Laboratories LLC

 CASE TYPE:     Business Litigation                          FILE DATE:       05/30/2018
 ACTION CODE:   BE1                                          CASE TRACK:      B-Special Track (BLS)
 DESCRIPTION:   Fraud, Business Torts, etc.
 CASE DISPOSITION DATE                                       CASE STATUS:     Open
 CASE DISPOSITION:      Pending                              STATUS DATE:     05/30/2018
 CASE JUDGE: ________                                        CASE SESSION:    Business Litigation 1




                                                   PARTIES

  Plaintiff
  Dana-Farber Cancer Institute Inc


  Plaintiff
  The General Hospital Corporation

  Defendant
  Esoterix Genetic Laboratories LLC

  Defendant
  Laboratory Corporation of America




 Printed: 06/26/2018 12:33 pm         Case No: 1884CV01657                                            Page: 1
              Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 3 of 31
CRTR2709-CR                              COMMONWEALTH OF MASSACHUSETTS
                                              SUFFOLK COUNTY CIVIL
                                                  Docket Report




                                            INFORMATIONAL DOCKET ENTRIES
Date          Ref      Description                                                                                                        Judge

05/30/2018             Attorney appearance
                       On this date Douglas J Nash, Esq. added for Plaintiff The General Hospital
                       Corporation      ................................................................................... . .
05/30/2018             Attorney appearance
                       On this date Carolyn Marcotte, Esq. added for Plaintiff The General
                       Hospital Corporation                                              ...........
05/30/2018             Attorney appearance
                       On this date Douglas J Nash, Esq. added for Plaintiff Dana-Farber Cancer
                       Institute Inc.................................................................................................
05/30/2018             Attorney appearance
                       On this date Carolyn Marcotte, Esq. added for Plaintiff Dana-Farber
                       Cancer Institute Inc............... ......................................................................
05/30/2018      1      RESTRICTED INFORMATION- Original civil corriplaint filed.......................
05/30/2018      2      Civil action cover sheet filed................ .........................................................
05/31/2018      3      Plaintiff The General Hospital Corporation, Dana-Farber Cancer Institute                                           Sanders
                       Inc's EX PARTE Motion to
                       Impound Complaint and Exhibits Thereto: Rule 7(e) protects only trade
                       secrets or other confidential information of like nature. Having reviewed the
                       complaint, this court does not regard it to be a trade secret in its entirety.
                       Therefore, this motion is only PROVISIONALLY ALLOWED in order to give
                       plaintiff an opportunity to file with the court a redacted version of the
                       complaint for the public file which redacts only those portions that
                       constitute proprietary information subject to the Rule. Redacted version to
                       be filed within 10 days (dated 5/30/18)

                       Judge: Sanders, Hon. Janet L.......
 05/31/2018     4      General correspondence regarding Notice of Acceptance into Business                                                Sanders
                       Litigation Session
                       This case is assigned to BLS 1 (dated 5/30/18)

                       Judge: Sanders, Hon, Janet L.....................................................................
 06/06/2018     5      The General Hospital Corporation, Dana-Farber Cancer Institute Inc's
                       MOTION for appointment of Special Process Server.
                       Suvalle Jodrey.............................................................................................
 06/08/2018     6      Plaintiff The General Hospital Corporation, Dana-Farber Cancer Institute                                           Kaplan
                       Inc's Motion for
                       appointment of special process server

                        Dated: 06/07/2018 ALLOWED

                       Judge: Kaplan, Hon. Mitchell H                                       ...........................................
 06/08/2018      7      REDACTED Copy of Original Complaint Filed........................ ....................
 06/13/2018             Endorsement on Motion for (#5.0): ALLOWED                                                                         Kaplan
                        appointment Notice sent 6/13/18

                        Judge: Kaplan, Hon. Mitchell H_________________________________


 Printed: 06/26/2018 12:33 pm             Case No: 1884CV01657                                                                                Page: 2
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CRTR2709-CR                            COMMONWEALTH OF MASSACHUSETTS
                                            SUFFOLK COUNTY CIVIL
                                                Docket Report




06/13/2018      8      Service Returned for
                       Defendant Laboratory Corporation of America; Service through person in
                       charge / agent;............................................................................ _
06/13/2018      9      Service Returned for
                       Defendant Esoterix Genetic Laboratories LLC: Service through person in
                       charge / agent;________




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 CIVIL ACTION COVER                        TOCKETNOt^   B.L.S.                       Trial Court Of Massachusetts Siqjeiior Court Department County:
                                                                                     SUFFOLK
 SHEET
 PLAINTIFF®                                                                           DEFBNDANT(S)
 The General Hospital Corporation and Dana-Farber Cancer Institute, Inc.             Esoterix Genetic Laboratories, LLC and Laboratory
                                                                                     Corporation of America


ATTCSiNEy, HRM NAME ADDRESS ANDTELBPHONB Baud of Bu Oveneen luimber                  A1TC«NBY (If known)
Douglas J. Nash (BBO# 633050)
Carolyn A. Marcotte (BBO# 663616)
Barclay Damon, LLP, One Financial Center, Suite 1701, Boston, MA 02111
(617)274-2900
Origin Code Original Complaint




TYPE OF ACTION AND TRACK DESIGNATION (See reverse side) CODE NO. TYPE OF ACTION (specify) TRACK IS THIS A JURY CASE? *
______________________ (B)«Ye8()No
                                               BE. 1 Breaches of contract, misrepresentation, unfair practices, and other business torts



The following is a full and detailed statement of die facts on which plaintiff lell^ to determine eligibility in to The Business Litigation Session.


Plaintiffs The General Hospital Corporation and Dana-Farber Cancer Institute, Inc. (together, “Plaintiffs”) bring
this Complaint against the defendants Esoterix Genetic Laboratories, LLC and Laboratoiy Corporation of
America (together, “Defendants”) for breach of contract, and other claims, arising from the Defendants’ breaches
of the confidential License Agreement. Plaintiffs seek to recover money that is due to them from Defendants
under the confidential License Agreement. In addition. Plaintiffs seek to recover, under Massachusetts General
Laws Chapter 93A, for Defendants’ knowing and willful breaches of the confidential License Agreement, which
are intended to secure for Defendants un-bargained for benefits to the detriment of the Plaintiffs.




* A Special Tracking Order shall be created by the Presiding Justice of the Business Litigation Session at the Rule 16 Conference.


PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED ACTION PENDING IN THE SUPERIOR COURT DEPARTMENT.
                                                                                      JudJci^i^^urt U)<&fl^lules oijJ^ispute Resolution pJC Rule 1:18)
"I hereby certify that I have complied with the requirements of Rule 5 of the     !me
requiring that I provide my clients with information about court-connectr.d'ibsmite ic^^tlbn          lid discuss wibitheu/thB'adKantages and
disadvanla^^f thi v^ous methods." Signature of Attorney of Recor^
                    i
                       Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 6 of 31




                                         COMMONWEALTH OF MASSACHUSETTS

          SUFFOLK, ss.                                                  SUPERIOR COURT DEPARTMENT

                                                         )
          THE GENSL\L HOSPITAL                           )
          CORPORATroNand                                 )
          DANA-FARBERC^CER                               )
          INSTITUTE, INC., \                             )
                                                         )
                           Plaintiffs,                   )
                                                         )
                           V.                            )               C.A.NO
    -4^                                                  )
>5-^      ESOTERK GENETIC                                )
          LABORATORIES, LLC and
          LABORATORY CORPORATION OF                      )
          AMERICA,                                       )
                                                         )
                           Defendants.                   )


    •-5                            ________EX
                                PLAINTIFFS’ ______
                                              PARTE MOTION__ IMfQVP^P
                                   COMPLAINT AND EXHIBITS THfel^TO

                 Pursuant to Trial Court Rule VIII, Massachusetts Rules ^Impoundment Procedure,
5-^
          Plaintiffs The General Hospital Corporation (“MGH”) and Dana-Farb^Cancer Institute, Inc.

          (“DFCI”) (together, “Plaintiffs”) hereby move to impound their Complaint         Exhibits A and B

          attached thereto. In support of their motion, Plaintiffs state as follows:        \

                  1.       This case is an action for breach of contract, and other claims, juising fiom

          breaches by Defendants Esoterix Genetic Laboratories, LLC (“Esoterix”) and Laboratory

          Corporation of America (“LabCorp”) (together, “Defendants”) of the License Agreernlmt

          (defined below). Plaintiffs seek to recover money that is due to them from Defendants under the

          License Agreement. In addition, Plaintiffs seek to recover, under Massachusetts Ge

          Chapter 93A, for Defendants’ knowing and willful breaches of the License Agreement, fhich

          are intended to secure for Defendants un-bargained for benefits to the detriment of the Plainti

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               Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 7 of 31




See Affidavit of Carolyn A. Marcotte in Support of Plaintiffs’ Motion to Impound Complaint and

Exhibits Thereto (“Marcotte Afl”), submitted herewith, at 3.

          2.       The Complaint Plaintiffs seek to file in this case discusses and attaches as exhibits

two documents with confidentiality provisions. Marcotte Aff. at Tf 4. More specifically, attached

to the Complaint as Exhibit A and discussed therein is a May 2, 2005 Exclusive License

Agreement and amendments thereto (the “License Agreement”), pursuant to which Plaintiffs

have granted Esoterix and/or LabCorp, as successors-in-interest to Genzyme Corporation, for

public use and benefit, an exclusive license under certain patent rights. Id.

         3.        Section 13.15 of the License Agreement, entitled Confidentiality, states as

follows:

                   The existence and terms of this AGREEMENT shall not be disclosed by
                   any PARTY without prior written permission firom the other PARTIES.
                   Notwithstanding the foregoing, it is understood that it is the intention of
                   the PARTIES to issue a press release upon execution of this
                   AGREEMENT in accordance with Section 13.7, and after such press
                   release becomes public, any PARTY may disclose the existence of the
                   AGREEMENT and any information contained in such press release,
                   without permission from the other PARTY.

Id. at If 5.
         4.        In addition, attached to the Complaint as Exhibit B and discussed therein, is a

copy of a confidential settlement agreement (without its Exhibits A and B) effective June 27,

2017, pursuant to which MGH, DFCI, Esoterix and LabCoip resolved a dispute that had arisen

over the distribution of proceeds from efforts by Esoterix and/or LabCoip to enforce the licensed

patents against a third party (the “Settlement Agreement”). Id. at 16.

         5.        Section 7.4, Confidentiality, of the Settlement Agreement states as follows:

                   The Parties agree to keep the terms of this Settlement Agreement, the
                   terms of the QIAGEN Settlement, and any documents or other information
                   delivered pursuant to the terms of this Settlement Agreement (collectively.

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,r-                Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 8 of 31




                       “Information”) confidential, except as otherwise may be required by law
                       (including compliance with the requirements of United States and foreign
                       governmental authorities) or the rules of any United States or foreign
                       stock exchanges. If a Party is required by judicial or administrative
                       process to disclose any Information, it shall, to the extent possible,
                       promptly notify the other Party and allow the other Party a reasonable time
                       to oppose such process or seek a protective order ffoni a court of
                       competent jurisdiction.

      Id. at 17.

              6.       In light of the confidentiality provisions in both documents. Plaintiffs are required

      to seek to impound the Complaint and exhibits thereto. Id. at f 8.

              7.       Impoimdment is sought by Plaintiffs, pursuant to Rule 7(e) of the Massachusetts

      Uniform Rules of Impoundment Procedure, to protect the confidential information.

              8.       Plaintiffs seek to have the Complaint and exhibits thereto impounded for the

      duration of the litigation in this matter, and state that impoundment is necessary as there are no

      other alternatives that will protect the information at issue.

             WHEREFORE, Plaintiffs The General Hospital Corporation and Dana-Farber Cancer

      Institute, Inc. respectfully request that the Court:

              1.       allow this motion and issue the proposed Order submitted herewith, impounding

                       the Complaint and Exhibits A and B thereto; and

             2.        grant such other relief as the Court deems just and proper.




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>




                                             Respectfully submitted,

                                             THE GENERAL HOSPITAL
                                             CORPORATION AND DANA-FARBER
                                             CANCER INSTITUTE, INC.
                                             Byti^attomej^        /y


                                                          2^
                                             Douglas J. Na3gu^BO#%3Sof^^^
                                            Carolyn^^arcotte (BBO# 663616)^^
                                            Barclayp^on LLP
                                            One Bmrncial Center, Suite 1701
                                            Boston, MA 02111
                                            (617) 274-2900
                                            dnash@barclaydamon.com
                                            cmarcotte@barclaydamon.com
    Dated: May 30,2018




                                        4
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                         Commonwealth of Massachusetts
                                County of Suffolk
                               The Superior Court

                                                 CIVIL DOCKET#: SUCV2018-01657-BLS1



Case: General Hospital Corp. et al. v. Esoterix Genetic Laboratories, LLC et al.




           NOTICE OF ACCEPTANCE INTO BUSINESS LITIGATION SESSION

      This matter has been accepted into the Suffolk Business Litigation Session. It has
been assigned to BLS1.

       Hereafter, as shown above, all parties must include the initials "BLS1" at the end of
the docket number on all filings.

        Counsel for the plaintiff(s) is hereby advised that within seven (7) days of the filing
of an appearance, answer, motion or other response to the complaint by or on behalf of the
defendant(s) which has been served with process within the time limitation of Mass. R. Civ.
P. 4(j), or such other time as may be modified by the Court, he or she shall send notice
thereof to the appropriate BLS Session Clerk at Suffolk Superior Court, Three Pemberton
Square, Boston, MA 02108.

        Upon receipt of such notice, the Court will issue a Notice of Initial Rule 16
Conference for purposes of meeting with all counsel. Before the Rule 16 Conference,
counsel shall discuss with their clients and with opposing counsel whether the parties
will participate in the BLS Project on Discovery (counsel are directed to
http://www.mass.gov/courts/court-info/trial-court/sc/sc-bls-gen.html for description of the
Project). Counsel may indicate their respective client's participation by completing, filing
and serving the attached form. If by the date of the initial Rule 16 Conference, not all
parties have given notice of their participation, counsel shall be prepared to discuss at
that conference whether their clients will participate in the Project.

       The Court requests that plaintiff's counsel serve on opposing parties a copy of
this notice and the attached form.

Dated:                '-LLI
                                                   V
                                                                           Janet L. Sanders
                                                             Justice of the Superior Court &
                                  Administrative Justice of the Business Litigation Session
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                         Commonwealth of Massachusetts
                                         County of Suffolk
                                        The Superior Court

                                             CIVIL DOCKET#:


Case:




        As you may know, the Business Litigation Session began implementing a Discovery
Project in January, 2010. This project is available on a voluntary basis for all new cases
accepted into the BLS and for cases which have not previously had an initial case
management conference. Counsel should be prepared to discuss the project with the Court
at the initial case management conference. For a detailed copy of the BLS Discovery
Project, counsel are directed to the Trial Court home page at:
http://wvwv.mass.gov/courts/court-info/trial-court/sc/sc-bls-gen.html)

      If a party is willing to participate in the project, that party's counsel should so indicate
below and return this form to the appropriate session clerk.

              Yes,                           is willing to participate in the Discovery Project,
                       (Party's Name)


        Case Name

        Docket Number CIVIL DOCKET#:


        Counsel For                                                  Date

        Firm Name and Address:




Please complete this form and return it to:

        Helen Foley, Asst. Clerk        OR            Richard V. Muscato, Jr., Asst. Clerk
        BLS1, Room 1309                               BLS2, Room 1017
        3 Pemberton Square                            3 Pemberton Square
        Boston, MA 02108                              Boston, MA 02108
f
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                                 COMMONWEALTH OF MASSACHUSETTS

    SUFFOLK, ss.                                              SUPERIOR COURT DEPARTMENT              Bjeo-h


    THE GENERAL HOSPITAL
    CORPORATION and
                                                                                                     Cv\A.
    DANA-FARBER CANCER
    INSTITUTE. INC.,

                   Plaintiffs,                                  i
                   V.                                         C.A.NO. 2018-01657-BLSl

    ESOTERK GENETIC
    LABORATORIES, LLC and
    LABORATORY CORPORATION OF
    AMERICA,

                  Defendants.


               MOTION FOR APPOINTMENT OF SPECIAL PROCESS SERVER

           Plaintiffs The General Hospital Corporation and Dana-Farber Cancer Institute, Inc. move

    this Court to appoint Suvalle Jodrey located at P.O. Box 869103, Milton, Massachusetts (617-

    720-5733), who are over 18 years of age and disinterested parties, to act as special process

    servers in the above-captioned matter.




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                                         Respectfully submitted.

                                         THE GENERAL HOSPITAL
                                         CORPORATION AND DANA-FARBER
                                         CANCER INSTITUTE, INC.
                                         By their attorneys,



                                         Douglas J. N^h (BBO# 633050)
                                         Carolyn A. Marcotte (BBO# 663616)
                                         Barclay Damon LLP
                                         One Financial Center, Suite 1701
                                         Boston, MA 02111
                                         (617) 274-2900
                                         dnash@barclaydamon. com
                                         cmarcotte@barclaydamon.com
Dated: June 6,2018




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                                                                                                  7
                              COMMONWEALTH OF MASSACHUSETTS

 SUFFOLK, ss.                                                SUPERIOR COURT DEPARTMENT

                                                 )
THE GENERAL HOSPITAL                             )
■CORPORATION and                                 )
DANA-FARBER CANCER                               )
INSTITUTE. INC.,                                 )
                                                )
                Plaintiffs,                     )
                                                )                       18-01657 BLS1
                V.                              )            C.A. No.
                                                )
ESOTERIX GENETIC                                )
LABORATORIES, LLC and                           )
LABORATORY CORPORATION OF                       )
AMERICA,                                        )
                                                )
                Defendants.                     )


                                           COMPLAINT

        Plaintiffs The General Hospital Corporation (“MGH”) and Dana-Farber Cancer Institute,

Inc. (“DFCI”) (together, “Plaintiffs”) bring this Complaint against the defendants Esoterix

Genetic Laboratories, LLC (“Esoterix”) and Laboratory Corporation of America (“LabCorp”)

(together, “Defendants”) for breach of contract, and other claims, arising from the Defendants’

breaches of the License Agreement (defined below). Plaintiffs seek to recover money that is due

to them from Defendants under the License Agreement. In addition, Plaintiffs seek to recover,

under Massachusetts General Laws Chapter 93A (“Chapter 93A”), for Defendants’ knowing and

willful breaches of the License Agreement, which are intended to secure for Defendants un­

bargained for benefits to the detriment of the Plaintiffs.
        Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 15 of 31




                                           THE PARTIES

         1.      The plaintiff The General Hospital Corporation is a not-for-profit Massachusetts

corporation, which owns and operates Massachusetts General Hospital, and has a principal place

of business at 55 Fruit Street, Boston, Massachusetts.

        2.       The plaintiff Dana-Farber Cancer Institute, Inc. is a Massachusetts company with

a   principal place of business at 450 Dana-Farber Cancer Institute, Inc., Brookline,

Massachusetts.

        3.       The defendant Esoterix Genetic Laboratories, LLC is, according to filings with

the Corporations Division of the Massachusetts Secretary of State’s Office, a Delaware

corporation with a principal place of business at 231 Maple Avenue, Burlington, North Carolina.

Further, upon information and belief, Esoterix’s headquarters is located in Westborough,

Massachusetts. In addition, upon information and belief, as set forth in the License Agreement

(defined below), Esoterix is a wholly-owned subsidiary of Laboratory Corporation of America.

       4.        The defendant Laboratory Corporation of America is, according to filings with the

Corporations Division of the Massachusetts Secretary of State’s Office, a Delaware corporation

with a principal place of business at 231 Maple Avenue, Burlington, North Carolina. LabCorp

is, upon information and belief, a corporate affiliate of Esoterix.

       5.        Further, upon information and belief, Esoterix and LabCotp share the same

principal place of business and utilize the same legal department, and LabCorp exercises control

ovar Esoterix.

       6.        To avoid injustice, MGH and DFCI seek to pierce the corporate veil and to hold

LabCorp liable for the contractual and common law obligations of Esoterix.




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        7.




                                             FACTS

The License Agreement

       8.      MGH and DFCI are world-renowned centers for patient care, research and

education.

       9.      MGH and DFCI own or control, by virtue of assignment, certain patent rights,

including U.S. Patent Nos. 7,294,468; 7,964,349; 8,105,769; 8,465,916; and 9,035,036.

       10.    Pursuant to the terms of a May 2, 2005 Exclusive License Agreement and

amendments thereto (the "License Agreement”), MGH and DFCI have granted Esoterix and/or

LabCorp, as successors-in-interest to Genzyme Corporation, for public use and benefit, an

exclusive license under the patent rights. A true and accurate copy of the Confidential License

Agreement with amendments thereto is attached here as Exhibit A.

       11,




The Settlement Agreement
       12.    Effective June 27, 2017, the MGH, DFCI, Esoterix and LabCorp entered into an

agreement to resolve a dispute that had arisen over the distribution of proceeds from efforts by

Esoterix and/or LabCorp to enforce the licensed patents against a third party (the “Settlement


                                               3
       Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 17 of 31




Agreement”). A true and accurate copy of the Confidential Settlement Agreement is attached

here as Exhibit B.

        13.



       14.




       15.




       16.



       17.



       18.    The breach of the License Agreement by Esoterix and/or LabCorp, as explained

further below, is intended to secure for them un-bargained for benefits to the detriment of MGH

and DFCI.

       19.




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Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 18 of 31




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    27.




    28.



    29.



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    30.




    31.




    32.




    33.




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                                             COUNTI
                                        (Breach of Contract)

        34.     Plaintiffs restate and incorporate by reference the allegations set forth in

Paragraphs 1 through 33 as if fully set forth herein.

        35.     Plaintiffs and Defendants entered into the License Agreement.

        36.     As described more fully above. Defendants knowingly and




        37.    As a result of Defendants’ conduct. Plaintiffs have suffered damages in an amount

to be determined at trial.

                                        COUNT II
                (Breach of Implied Covenant of Good Faith and Fair Dealing)

       38.     Plaintiffs restate and incorporate by reference the allegations set forth in

Paragraphs 1 through 37 as if fully set forth herein.

       39.     There is a covenant of good faith and fair dealing inherent in every contract.

       40.     By their actions and conduct described above, Defendants have violated the

covenant of good faith and fair dealing inherent in the License Agreement.




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       Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 21 of 31




        41.     As a result of Defendants’ conduct, Plaintiffs have suffered damages in an amount

to be determined at trial.

                                          COUNT in
                         (Violation of M.GX. Chapter 93A, §§ 2 and 11)

        42.    Plaintiffs restate and incorporate by reference the allegations set forth in

Paragraphs 1 through 41 as if fully set forth herein.

        43.    At all times relevant hereto, Plaintiffs and Defendants have been engaged in trade

or commerce.

        44.



       45.

I       m

       46.     Defendants’ unfair and deceptive practices occurred substantially in the

Commonwealth of Massachusetts.

       47.     Plaintiffs have suffered monetary damages as a result of Defendants’ tmfair and

deceptive practices.

                                           COUNT IV
                                       (Unjust Enrichment)

       48.     plaintiffs restate and incorporate by reference the allegations set forth in

Paragraphs 1 through 47 as if fidly set forth herein.




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         49.




         50.     As a result of Defendants’ conduct. Plaintiffs have suffered damages in an amount

to be determined at trial.

                                           COUNTV
                                  (Accounting/Injunctive Relief)

        51.      MGH restates and incorporates by reference the allegations set forth in

Paragraphs 1 through 50 as if Mly set forth herein.

        52.



        53



        54.



                                           COUNT VI
                                  (Piercing the Corporate Veil)

        55.     Plaintiffs restate and incorporate by reference the allegations set forth in

Paragraphs 1 through 54 as if fully set forth herein.

        56.




        57.     The corporate form should not bar Plaintiffs from seeking the full relief to which

they are entitled.


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        58.     In light of the allegations set forth above, and to avoid injustice, the corporate veil

with respect to Esoterix should be pierced and LabCorp should be held liable for the contractual

and common law obligations of Esoterix.

                                     PRAYERS FOR RELIEF
        WHEREFORE, Plaintiffs The General Hospital Corporation and Dana-Farber Cancer

Institute, Inc. respectfully request that the Court enter the following relief:

        1.      grant Plaintiffs judgment on Counts 1 through IV and VI of the Complaint;

       2.       award Plaintiffs their damages, with interest, on Counts I through IV;

       3.      order injunctive relief;

       4.      order an accounting as requested in Count V of the Complaint;

       5.      award Plaintiffs double or treble damages in accordance with M.G.L. c. 93A;

       6.      award Plaintiffs’ their attorneys’ fees and costs; and

       7.      award Plaintiffs such other relief as the Court deems just and proper.

                                 DEMAM) FOR JURY TRIAL
       Plaintiffs demand a trial by jury on all issues so triable.




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                                       Respectfully submitted,

                                       THE GENERAL HOSPITAL
                                       CORPORATION AND DANA-FARBER
                                       CANCER INSTITUTE, INC.
                                       Bythgi^ attome’



                                       Douglas/<^t^^ (BBO#
                                       Carol; jfifA/Marcotte (BBO# 663616)
                                       Bj     iydJatnon LLP
                                       On^'Financial Center, Suite 1701
                                       Boston, MA 02111
                                       (617)274-2900
                                       dnash@barclaydamon.com
                                       cmarcotte@barclaydamon.com
Dated: May 30,2018




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                                                                                                                        8
                                           Commonwealth of Massachusetts

           SUFFOLK, 5S.
                                                             \/       TRIAL COURT OF THE COMMONWEALTH
                                                                      SUPERIOR COURT DEPARTMENT ^
                                                                      CIVIL DOCKET NO.
           The General Hos
           Corporation, et al. plaintiFF(S),

           ^soterix Genetic Laboratories,
           LLC, et al.        ^ DEFENDANT(S)
                                                            SUMMONS

           THIS SUMMONS IS DIRECTED TOLaboratory Corp. of AmerlcafPefendants name)
           You are being sued- The Plalntiff(s) named above has started a lawsuit against you. A copy of the
           Plaintiffs Complaint filed against you is attached to this summons and the original complaint has been
           filed in the Suffolk Sup.                Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

1.         You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
           the case against you and award the Plaintiff everything asked for in the complaint. You will also lose'the
           opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
           to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
           extension of time in writing from the Court.
2.         How to Respond. To respond to this lawsuit, you must file a written response with the court ar^ mail a
           copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this by: •   ,
     a.    Filing your signed original response with the Clerk's Office for Civil Business, Suffolk Court,
          Boston. MA         (address), by mail or in person, AND
     b.    Delivering or mailing a copy of your response to the Plaintiffs Attorney/Plaintlff at the fallowing
          address; Barclay Damon LLP, 1 Financial Ctr •                             f   Ste. 1701, Boston,
3.        What to include in your response. An "Answer" is one type of response to a Complaint. Your Answer
          must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
          Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
          use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
          based on'the same facts or transaction described in the Complaint, then you must include those clafims
          In your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
          lawsuit. If you want to have your case heard by a Jury, you must specifically request a jury trial in yolir
          Answer or in a written demand for a jury trial that you must send to the other side and file with the
          court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
          "Motion to Dismiss," if you believe that the complaint is legally invalid or legally Insufficient. A Motion
          to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
          you are filing a Motion to Dismiss, you must also comply with the filing procedures for "Civil Motions"
          described in the rules of the Court in which the cpmplaint was filed, available at
          www.mass.gov.courts/case-legal-res/rules of Court.
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                                          Commonwealth pf Massachusetts

          SUFFOLK, SS.                                                TRIAL COURT OF THE COMMONWEALTH
                                                                      SUPERIOR COURT D^ARTMEWT^.^
                                      7Ai'l               p 7y 25     CIVIL DOCKET NO. IP




            Esoterix Genetic Laboratories,
            LLC, et al.                       , DEFENDANT(S)

                                                            SUMMONS

          THIS SUMMONS IS DIRECTED TO Esoterix Genetic Lab. ,                          LLC (Defendants name)

          You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
           Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
          filed in the Suffolk Sup.                Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS-

1.        You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide
          the case against you and award the Piaintiff everything asked for in the complaint. You will also lose the
          opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect
          to resolve this matter with the Plaintiff. If you need more time to respond, you may request an
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          copy to the Plaintiff's Attorney {or the Plaintiff, if unrepresented). You can do this by. ■   .
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          Boston, MA (address), by mail or In person, AND
     b.   Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the fallowing
          address: Barclay Damon LLP,                 1    Financial Ctr.,            Ste.     1701,         Boston,    MA
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          in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
          lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in yoUr
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          www.mass.gov.courts/case-legal-res/rules of Court.
                     Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 27 of 31
*   -♦




                                                                                                                JUNE 8, 2018




                                                  RETURN OF SERVICE

         I this day SER VED the within named LABORATORY CORPORATION OF AMERICA
                                             C/0 CSC

         by delivering to                                      BERNARDO MONTANEZ, CLERK, 1:40PM

             X    in hand


         No.        84 STATE ST
         in the city/towm of BOSTON, an attested copy ofthe Summons; Complaint with ExhibitS'A and B; Notice of
         Acceptance Into Business Litigation Session 1, with Discovei-y Project Forms; Plaintiffs Ex Parte Motion to Impound
         Complaint and Exhibits Thereto; Affidavit of Carolyn A. Marcottein Support of Plaintiffs Ex Parte Motion to Impound
         Complaint and Exhibits Thereto; [Proposed] Order of Impoundment; Order Provisionally Granting Plaintiffs Ex Parte
         Motion to Impound Complaints and Exhibits Thereto; and Motion for Appointment of Specid Proces^ Server.


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     Service and travel           S     84




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                        Case 1:18-cv-11360-IT Document 1-1 Filed 06/28/18 Page 28 of 31
r       >




                                                                                                                  JUNE 8,2018




                                                     RETURN OF SERVICE

            / this day SERVED the within named ESOTERIX GENETIC LABORATORIES, LLC
                                               C/0 CSC

            by delivering to                                      BERNARDO MONTANEZ, CLERK, 1:40PM

                  X   in hand


            No.       84 STATE ST
            in the city/town of BOSTON, an attested copy of the Summons; Complaint with Exhibits A and B; Notice of
            Acceptance Into Business Litigation Session 1, with Discovery Project Forms; Plaintiffs Ex Parte Motion to Impound
    -       Complaint and Exhibits Thereto; Affidavit of Carolyn A. Marcottein Support of Plaintiffs Ex Parte Motion to Impound
            Complaint and Exhibits Thereto; [Proposed] Order of Impoundment; Order Provisionally Granting Plaintiffs Ex Parte
            Motion to Impound Complaints and Exhibits Thereto; and Motion for Appointment of Specid Process Server.




            Service and travel       $     84
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                                                                        Process Server/
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V




                                 COMMONWEALTH OF MASSACHUSETTS

     SUFFOLK, ss.                                                 SUPERIOR COURT DEPARTMENT

                                                  )
    THE GENERAL HOSPITAL                          )
    CORPORATION and                               )
    DANA-FARBER CANCER                            )
    INSTITUTE, INC.,                              )
                                                  )
                   Plaintiffs,                    )
                                                  )
                   V.                             )               C.A.NO.   I?
                                                  )
    ESOTERDC GENETIC                              )
    LABORATORIES, LLC and                         )
    LABORATORY CORPORATION OF                     )
    AMERICA,                                      )
                                                  )
                   Defendants.                    )


              AFFIDAVIT OF CAROLYN A. MARCOTTE IN SUPPORT OF
      PLAINTIFFS’ MOTION TO IMPOUND COMPLAINT AND EXHIBITS THERETO

           I, Carolyn A. Marcotte, state under oath as follows:

            1.     I am counsel with the law firm of Barclay Damon LLP, coimsel for Plaintiffs The

    General Hospital Corporation (“MGH”) and Dana-Farber Cancer Institute, Inc. (“DFCI”)

    (together, “Plaintiffs”) in the above-captioned matter.

           2.      I submit this affidavit in support of Plaintiffs’ Ex Parte Motion to Impoimd

    Complaint and Exhibits Thereto.

           3.      This case is an action for breach of contract, and other claims, arising fi-om

    breaches by Defendants Esoterix Genetic Laboratories, LLC (“Esoterix”) and Laboratory

    Corporation of America (“LabCorp”) (together, “Defendants”) of the License Agreement

    (defined below). Plaintiffs seek to recover money that is due to them from Defendants under the

    License Agreement. In addition. Plaintiffs seek to recover, under Massachusetts General Laws
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Chapter 93A, for Defendants’ knowing and willful breaches of the License Agreement, which

are intended to secure for Defendants un-bargained for benefits to the detriment of the Plaintiffs.

        4.      The Complaint Plaintiffs seek to file in this case discusses and attaches as exhibits

two documents with confidentiality provisions. More specifically, attached to the Complaint as

Exhibit A and discussed therein is a May 2,2005 Exclusive License Agreement and amendments

thereto (the “License Agreement”), pursuant to which MGH and DFCI have granted Esoterix

and/or LabCorp, as successors-in-interest to Genzyme Corporation, for public use and benefit, an

exclusive license under certain patent rights.

        5.      Section 13.15 of the License Agreement, entitled Confidentiality, states as

follows:

               The existence and terms of this AGREEMENT shall not be disclosed by
               any PARTY without prior written permission fi-om the other PARTIES.
               Notwithstanding the foregoing, it is xmderstood that it is the intention of
               the PARTIES to issue a press release upon execution of this
               AGREEMENT in accordance with Section 13.7, and after such press
               release becomes public, any PARTY may disclose the existence of the
               AGREEMENT and any information contained in such press release,
               without permission from the other PARTY.

       6.      In addition, attached to the Complaint as Exhibit B and discussed therein, is a

copy of a confidential settlement agreement (without its Exhibits A and B) effective June 27,

2017, pursuant to which MGH, DFCI, Esoterix and LabCorp resolved a dispute that had arisen

over the distribution of proceeds fi-om efforts by Esoterix and/or LabCorp to enforce the licensed

patents against a third party (the “Settlement Agreement”).

       7.      Section 7.4, Confidentiality, of the Settlement Agreement states as follows:

               The Parties agree to keep the terms of this Settlement Agreement, the
               terms of the QLAGEN Settlement, and any documents or other information
               delivered pursuant to the terms of this Settlement Agreement (collectively,
               “Information”) confidential, except as otherwise may be required by law
               (including compliance with the requirements of United States and foreign

                                                 2
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              governmental authorities) or the rules of any United States or foreign
              stock exchanges. If a Party is required by judicial or administrative
              process to disclose any Information, it shall, to the extent possible,
              promptly notify the other Party and allow the other Party a reasonable time
              to oppose such process or seek a protective order from a court of
              competent jurisdiction.

       8.     In light of the confidentiality provisions in both documents. Plaintiffs are required

to seek to impound the Complaint and exhibits thereto.

       Signed under the penalties of perjury this 30* day of May 2018.




                                                            Carolyn       [arcotte




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